              Case:18-10744-SDB Doc#:35 Filed:08/28/18 Entered:08/28/18 13:29:29                                                                  Page:1 of 4
 Fill in this information to identify your case:

 Debtor 1                   Sarah Booker Gladmon
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF GEORGIA

 Case number           18-10744
 (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
         Deutsche Bank National
 2.1                                                                                                              $8,752.14                $2,164.00           $6,588.14
         Trust Co, Trustee                        Describe the property that secures the claim:
         Creditor's Name                          110 Recreation Drive Washington,
         c/o Franklin Credit                      GA 30673
         Management Corp.
         PO Box 2301                              As of the date you file, the claim is: Check all that
                                                  apply.
         Jersey City, NJ                              Contingent
         07303-2301
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   First Mortgage
       community debt

 Date debt was incurred                                    Last 4 digits of account number


         Franklin Credit
 2.2                                                                                                            $10,438.78                 $2,164.00          $10,438.78
         Management Corporation                   Describe the property that secures the claim:
         Creditor's Name                          110 Recreation Drive Washington,
         c/o Rubin Lublin, LLC                    GA 30673
         3145 Avalon Ridge Place
                                                  As of the date you file, the claim is: Check all that
         Suite 100                                apply.
         Norcross, GA 30071                           Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   Second Mortgage
       community debt


Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2
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           Case:18-10744-SDB Doc#:35 Filed:08/28/18 Entered:08/28/18 13:29:29                                                               Page:2 of 4
 Debtor 1 Sarah Booker Gladmon                                                                    Case number (if know)        18-10744
              First Name                Middle Name                    Last Name


 Date debt was incurred                                   Last 4 digits of account number



   Add the dollar value of your entries in Column A on this page. Write that number here:                         $19,190.92
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                        $19,190.92

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                           page 2 of 2
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              Case:18-10744-SDB Doc#:35 Filed:08/28/18 Entered:08/28/18 13:29:29                                                      Page:3 of 4



 Fill in this information to identify your case:

 Debtor 1                    Sarah Booker Gladmon
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF GEORGIA

 Case number              18-10744
 (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Sarah Booker Gladmon                                                  X
              Sarah Booker Gladmon                                                      Signature of Debtor 2
              Signature of Debtor 1

              Date       August 28, 2018                                                Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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         Case:18-10744-SDB Doc#:35 Filed:08/28/18 Entered:08/28/18 13:29:29                   Page:4 of 4

                                 UNITED STATES BANKRUPTCY COURT
                                       Southern District of Georgia
                                            Augusta Division

                                                                           Case: 18-10744-SDB
In re:
         Sarah Booker Gladmon,                                                  Chapter: 13
                                      Debtor.
                                                                           Judge Susan D. Barrett

                                        CERTIFICATE OF SERVICE

        I hereby certify that copies of the foregoing were served on August 28, 2018, by CM/ECF electronic
notice, on the following:

                                                    Huon Le
                                        Office of the Chapter 13 Trustee
                                             notices@chp13aug.org

and that copies of the foregoing along with Notice of Chapter 13 Bankruptcy Case and Chapter 13 Plan and
Motion were served on August 28, 2018 by placing copies of the same for collection and mailing on August 28,
2018, first-class postage prepaid, on the following:

         Deutsche Bank National Trust Co, Trustee              Franklin Credit Management Corporation
                    Attn: Officer/Agent                                   Attn: Officer/Agent
          c/o Franklin Credit Management Corp.                          c/o Rubin Lublin, LLC
                       PO Box 2301                                     3145 Avalon Ridge Place
                Jersey City, NJ07303-2301                                      Suite 100
                                                                          Norcross, GA30071

         Respectfully submitted on August 28, 2018.
                                                                     /s/ Matthew James Duncan
                                                            Matthew James Duncan (GA Bar #: 143397)
                                                          2602 Commons Blvd., Ste. A, Augusta, GA 30909
                                                                P: 706-755-2928 | F: 706-664-0407
                                                                 office@matthewjamesduncan.com
